       Case 5:16-cv-01311-XR Document 1 Filed 12/29/16 Page 1 of 9



                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

 CORNELIO GARCIA AND                               §
 GRISELDA GARCIA,                                  §
 Plaintiffs,                                       §
                                                   §   CIVIL ACTION NO. 5:16-cv-1311
 v.                                                §         JURY DEMANDED
                                                   §
 STARSTONE NATIONAL                                §
 INSURANCE COMPANY AND                             §
 MILES RYAN MCCREADY,                              §
 Defendants.                                       §
                                                   §


     DEFENDANT STARSTONE NATIONAL INSURANCE COMPANY’S
                         NOTICE OF REMOVAL
________________________________________________________________________

TO THE HONORABLE COURT:

       Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant Starstone National

Insurance Company, in Cause No. 2016CL19682, pending in the 438th District Court of

Bexar County, Texas, files this Notice of Removal from that court to the United States

District Court for the Western District of Texas, San Antonio Division, on the basis of

diversity of citizenship and respectfully shows:

                            I. FACTUAL BACKGROUND

       1.1     On or about November 11, 2016, Plaintiffs filed their Original Petition in

the matter styled Cornelio Garcia and Griselda Garcia v. Starstone National Insurance

Company and Miles Ryan McCready, Cause No. 2016CI19682, pending in the 438th

Judicial District Court of Bexar County, Texas, in which Plaintiffs made a claim for

damages to their home under a homeowner’s insurance policy.



                                             1
       Case 5:16-cv-01311-XR Document 1 Filed 12/29/16 Page 2 of 9



       1.2     Plaintiffs also assert claims against Miles Ryan McCready, the in-house

adjuster assigned to Plaintiffs’ claim.

       1.3     Plaintiffs served Starstone with process and Plaintiffs’ Original Petition on

November 29, 2016.

       1.4     Plaintiffs’ Original Petition states that “[o]n or about April 12, 2016, a hail

storm and/or windstorm . . . [caused] severe damage to . . . Plaintiffs’ residence.” See Pl.’s

Original Pet. at ¶ 12.

       1.5     The Plaintiffs filed a claim with Starstone “for the damage to their home

caused by the hail storm and/or windstorm.” See id.

       1.6     The Civil Cover Sheetis attached as Exhibit A to this notice of removal. A

copy of the Bexar County District Clerk’s file for this case is also attached as Exhibit B

and includes true and correct copies of all executed process, pleadings, and orders. The

Consent to Removal is attached as Exhibit C. The Affidavit of Michael Schneiderman is

attached as Exhibit D.

                                   II. BASIS FOR REMOVAL

       2.1     Removal is proper based upon diversity of citizenship under 28 U.S.C. §§

1332, 1441(a), and 1446.

       2.2     At the time the lawsuit was filed, Plaintiffs were residents of the State of

Texas. See Pl.’s Original Pet. at ¶ 2.

       2.3     Defendant Starstone is incorporated as Delaware-domiciled insurance

company, and has its principal place of business in New Jersey. Accordingly, Starstone is

not a citizen of Texas.




                                              2
        Case 5:16-cv-01311-XR Document 1 Filed 12/29/16 Page 3 of 9



        2.4     Defendant Miles Ryan McCready is a citizen of the State of Texas, but is

not a proper party to this lawsuit.

A.      Complete diversity exists between Plaintiffs and Starstone because Defendant
        Miles Ryan McCready has been improperly joined in this lawsuit.

        2.5     Improper joinder may be established in two ways: (1) actual fraud in the

pleading of jurisdictional facts, or (2) inability of the plaintiff to establish a cause of action

against the non-diverse defendant in state court. Int’l Energy Ventures Mgmt, L.L.C. v.

United Energy Grp., Ltd., 818 F.3d 193, 199 (5th Cir. 2016); Smallwood v. Ill. Cent. R.R.

Co., 385 F.3d 568, 573 (5th Cir. 2003) (en banc). The test for improper joinder is “whether

the defendant has demonstrated that there is no possibility of recovery by the Plaintiff

against an in-state defendant, which stated differently means that there is no reasonable

basis for the district court to predict that the Plaintiff might be able to recover against an

in-state defendant.” Smallwood, 385 F.3d at 573 (citing Travis v. Irby, 326 F.3d 644, 648

(5th Cir. 2003)). To determine whether the plaintiff can recover against the in-state

defendant, the district court must analyze the plaintiff’s petition under the robust federal

rule 12(b)(6) standard and determine whether the plaintiff’s petition states a claim. See

Int’l Energy, 818 F.3d at 207-08; see also Smallwood, 385 F.3d at 573; see also Lakewood

Chiropractic Clinic v. Travelers Lloyds Ins. Co., No. H-09-1728, 2009 WL 3602043, at *1

(S.D. Tex. Oct. 27, 2009). “Factual allegations must be enough to raise a right to relief

above the speculative level.” Twombly, 550 U.S. at 555; Guerrero Investments, LLC v.

Am. States Ins. Co., No. 7:12-CV-430, 2013 WL 5230718, at *1 (S.D. Tex. Sept. 17, 2013).

        2.6     In their Petition, many of Plaintiffs’ allegations are solely directed at

Starstone. These allegations assert that Starstone (1) “wrongfully denied Plaintiffs’ claim

for repairs of the property,” “underpaid some of Plaintiffs’ claim,” and “under-scop[ed] the

                                                3
       Case 5:16-cv-01311-XR Document 1 Filed 12/29/16 Page 4 of 9



damages during its investigation”; (2) continues to delay payment for the property

damages; (3) “refused to pay the full proceeds of the policy,” despite “due demand” by

Plaintiffs; (4) failed to timely acknowledge Plaintiffs’ claim and begin an investigation

once the claim was made; (5) failed to accept or deny the full and entire claim once it

received all required information; and (6) refused to pay Plaintiffs’ claim in full with no

basis upon which a reasonable insurance company could rely to deny full payment. See

Pl.’s Original Pet. at ¶¶ 18-20, 26-29.

       2.7     Plaintiffs assert additional allegations as to both Starstone and McCready

(referred to collectively as Defendants), including that Defendants (1) “set about to deny

and/or underpay . . . covered damages”; (2) misrepresented that the damage was not

covered; (3) failed to settle the claim in a fair manner; (4) failed to explain and/or

communicate with Plaintiffs about the reasons full payment would not be made; (5) failed

to make a reasonable investigation of the property; and (6) “knowingly or recklessly made

false representations . . . as to materials facts and/or knowingly concealed all or part of

material information from Plaintiffs.” See id. ¶¶ 17, 21, 22, 23, 25, 30.

       2.9     Plaintiffs also assert allegations against McCready individually.       The

Plaintiffs’ factual allegations are that Starstone “assigned McCready as the individual

adjuster on the claim” and that McCready “inspected Plaintiffs’ residence.” See id. ¶ 15.

Plaintiffs allege that “[d]uring [McCready’s] inspection,” he misrepresented the amount of

damage to the property, underestimated and undervalued the claim, and failed to provide

an adequate explanation as to why damages were undervalued or omitted from the estimate.

See id. ¶¶ 15-16. Based on these allegations, Plaintiffs assert several causes of actions

against McCready, which include violations of the Texas Insurance Code. See id. ¶¶ 33-



                                             4
        Case 5:16-cv-01311-XR Document 1 Filed 12/29/16 Page 5 of 9



39. Plaintiffs also assert causes of action against McCready and Starstone collectively,

which include fraud and conspiracy. See id. ¶¶ 55-58.

        2.10    But Plaintiffs wholly fail to allege any facts involving the conduct of their

named defendant, Miles McCready, and have therefore failed to secure the required

“factual fit between [their] allegations and the pleaded theory of recovery.” See Griggs v.

State Farm Lloyds, 181 F.3d 694, 701 (5th Cir. 1999). Plaintiffs allegations against

McCready are based on the conduct of the on-site adjuster during his investigation of the

Plaintiffs’ property. However, McCready was not the “individual adjuster” assigned to

this claim, as alleged by Plaintiffs in their Original Petition. See Ex. D, Aff. of Michael

Schneiderman. McCready did not perform an on-site inspection of Plaintiffs’ “residence”

or other covered property on June 18, 2016, as alleged by Plaintiffs in their Petition, and

did not make any representations to Plaintiffs about damage to their property, if any, during

this alleged inspection. See id. In short, there are no facts in Plaintiffs’ petition supporting

their claims against McCready.

        2.11    None of Plaintiffs’ allegations involve conduct attributable to McCready.

Plaintiffs’ failure to allege any specific facts concerning McCready’s involvement means

that Plaintiffs did not “‘state enough facts to state a claim for relief that is plausible on its

face.’” See Int’l Energy, 818 F.3d at 207-08 (quoting Twombly, 550 U.S. at 570). In the

absence of such factual allegations, “‘there is no reasonable basis for the district court to

predict that [P]laintiff[s] might be able to recover against”’ McCready. See Int’l Energy,

818 F.3d at 205 (quoting Smallwood, 385 F.3d at 573; Travis, 326 F.3d 646-47). McCready

is an improper party to this lawsuit and should be dismissed by the Court.




                                               5
         Case 5:16-cv-01311-XR Document 1 Filed 12/29/16 Page 6 of 9



         2.12   Because Starstone, a foreign defendant, is the only proper defendant in this

action, there is complete diversity between the parties. As such, removal is proper based

upon diversity of citizenship under 28 U.S.C. §§ 1332(a)(1), 1441(a), and 1446.

B.       The amount of damages prayed for by Plaintiff exceeds the amount in
         controversy required to confer diversity jurisdiction on this Court.

         2.13   Federal courts have subject matter jurisdiction over actions between citizens

of different states in which the amount in controversy exceeds $75,000. 28 U.S.C. §

1332(a)(1); Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 882 (5th Cir. 2000). Generally,

an amount in controversy for the purposes of establishing federal jurisdiction is determined

by the Plaintiffs’ complaint. De Aguilar v. Boeing Co., 47 F.3d 1404, 1411-12 (5th Cir.

1995).

         2.14   Here, Plaintiffs’ claims are centered on the alleged failure to pay the full

proceeds of Plaintiffs’ policy, which payment Plaintiffs claim was necessary to make

repairs to their property. On November 11, 2016, Plaintiffs filed suit seeking monetary

relief of $100,000 or less. See Pl.’s Original Pet. at ¶ 5. Plaintiffs’ suit alleges five causes

of action against Starstone, including breach of contract, breach of the duty of good faith

and fair dealing, violations of the Texas Insurance Code, fraud, and conspiracy to commit

fraud. See id. at ¶¶ 40-58. In connection with their claims, Plaintiffs seek actual damages,

treble damages, mental anguish damages, exemplary damages, interest, and attorney’s fees.

See id. at ¶¶ 60-67. Although Plaintiffs do not specify a dollar amount, Plaintiffs’ suit

seeks $100,000 or less, and Plaintiffs’ prayer includes treble damages, exemplary damages,

interest, attorney’s fees and costs that will undoubtedly increase the amount sought and

exceed the $75,000 jurisdictional requirement for removal.




                                               6
       Case 5:16-cv-01311-XR Document 1 Filed 12/29/16 Page 7 of 9



        2.15    Because Plaintiffs have prayed for damages in excess of $75,000, this case

may be properly removed to federal court.

               III. THE REMOVAL IS PROCEDURALLY CORRECT

        3.1     Defendant Starstone was first served with Plaintiffs’ Original Petition and

process on November 29, 2016. By filing its Notice on this day, December 29, 2016,

Defendant Starstone files its Notice of Removal within the thirty-day time period required

by 28 U.S.C. § 1446(b).

        3.2     Venue is proper in this District and Division under 28 U.S.C. § 1446(a)

because this District and Division include the county in which the state action has been

pending and because a substantial part of the events giving rise to Plaintiffs’ claims

allegedly occurred in this District and Division.

        3.3     Pursuant to 28 U.S.C. § 1446(d), promptly after Starstone files this Notice,

written notice of the filing will be given to Plaintiffs, the adverse party.

        3.4     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice of

Removal will be filed with the Clerk of the Bexar County District Court, promptly after

Starstone files this Notice.


                                    IV. CONCLUSION

        4.1     Based on the foregoing, the exhibits submitted in support of this Notice, and

other documents filed contemporaneously with this Notice and fully incorporated herein,

Defendant Starstone National Insurance Company hereby removes this case to this Court

for trial and determination.




                                               7
       Case 5:16-cv-01311-XR Document 1 Filed 12/29/16 Page 8 of 9




                                        By:    /s/ Mikell A. West
                                        Mikell A. West
                                        Attorney-in-charge
                                        State Bar No. 24070832
                                        GAULT, NYE & QUINTANA, L.L.P.
                                        P.O. Box 6666
                                        Corpus Christi, Texas 78466
                                        Telephone: (361) 654-7008
                                        Fax: (361) 654-7001
                                        mwest@gnqlawyers.com

                                        ATTORNEY FOR DEFENDANT
                                        STARSTONE NATIONAL INSURANCE
                                        COMPANY



Of counsel:

GAULT, NYE & QUINTANA, L.L.P.
P.O. Box 6666
Corpus Christi, Texas, 78466
Telephone: (361) 654-7008
Fax: (361) 654-7001
Portia Bott
State Bar No. 02687965
pbott@gnqlawyers.com




                                    8
       Case 5:16-cv-01311-XR Document 1 Filed 12/29/16 Page 9 of 9



                            CERTIFICATE OF SERVICE

       I certify that on December 29, 2016, a copy of Defendant Starstone National
Insurance Company’s Notice of Removal was electronically filed on the CM/ECF
system, and will be served on the following attorney in charge for Plaintiffs, Cornelio
Garcia and Griselda Garcia.


Via CM/RRR #
Cristobal M. Galindo
Cristobal M. Galindo, P.C.
4151 Southwest Freeway, Suite 602
Houston, Texas 77027
StormCase@galindolaw.com


                                                   /s/Mikell A. West
                                                     Mikell A. West




                                           9
